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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


DEBORAH D. PETERSON,
Personal Representative
Of The Estate Of
James C. Knipple (Deceased), et al.
                    Plaintiffs




              v.                                           Civil Action#1:01CV02094(RCL)



THE ISLAMIC REPUBLIC OF IRAN, et al.
               Defendants



                        REPORT OF SPECIAL MASTER
                     PURSUANT TO ORDER OF REFERENCE
               CONCERNING COUNTS CCCXXIX THROUGH CCCXXXII

                               JOHN ARTHUR PHILLIPS, JR.
                                      SGT USMC


       In accordance with the Order of Reference entered pursuant to the provisions of Federal

Rule 53, the Special Master has received evidence with regard to all issues of compensatory

damages from witnesses as below set forth. This is an action for wrongful death resulting from an

act of state-sponsored terrorism. The following findings of fact are based upon the sworn testimony

and documents entered into evidence in accordance with the Federal Rules of Evidence and have

been established by clear and convincing evidence.
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                                       FINDINGS OF FACT

               (1) John Arthur Phillips, Jr. was born on April 22, 1960 in the United States of

America and was at birth and remained until his death, a citizen of the United States. Mr. Phillips

joined the United States Marine Corps and on March 19, 1980 was a member of the 24th MAU,

First Battalion, 8th Regiment.

       (2) On October 23, 1983, the building housing the Marine Battalion at Beirut was attacked

by a suicide bomber operating a truck which penetrated to the center of the building where the

operator detonated a large explosive charge completely collapsing the building resulting in the

deaths of 241 American Service personnel, including this decedent.

       (3) As a result of the explosion, decedent, John Arthur Phillips, Jr., suffered severe injuries,

which resulted in his death.

       (4) The official service death certificate, admitted as an official record, indicated that the

death of the decedent was due to a terrorist attack at Beirut, Lebanon on October 23, 1983.

       (5) The records available and the testimony of witnesses indicate that prior to death, there is

no evidence from which the Special Master can make any finding that the decedent suffered bodily

pain or suffering as a result of his injuries and death appears to have been instantaneous.

       (6) As a result of the death of John Arthur Phillips, Jr., his estate suffered a loss of

accretions to the estate which could have been expected to occur during the course of his

anticipated life. These losses are the subject of a report under oath from Dr. Jerome Paige and are

supported by Dr. Paige’s testimony given by videotape. They have been reduced by Dr. Paige to

present value in accordance with District of Columbia v. Barriteau, 399 A.2d 563 (D.C. App.




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1979). Based upon the foregoing, the amount of loss to the estate is in the amount of

$1,030,308.00.

        (7) As the result of the death of John Arthur Phillips, Jr., his father, mother, and his

surviving siblings have suffered and will continue to suffer severe mental anguish and the loss of

society. The testimony established that his father, mother, and siblings have never recovered from

the shock and suffered severe emotional trauma from John Arthur Phillips Jr.’s death in Beirut.

They are participants in various memorial programs for the victims of October 23, 1983 and are

vigorous supporters of those programs.

        SGT. JOHN ARTHUR PHILLIPS, JR. (Deceased) was born on April 22, 1960, and was

killed instantly in a terrorist truck bomb explosion in the Marine Barracks in Beirut, Lebanon on

October 23, 1983. John Arthur Phillips, Jr. enlisted in the United States Marine Corps on March

19, 1980, at the age of 20, and he was scheduled to be discharged on March 19, 1984. John A.

Phillips, Jr. was killed at the age 23, a Sergeant in the United States Marine Corps, a proud Marine.

John A. Phillips, Jr. excelled in his Marine training and intended to leave the military at the

conclusion of his term of enlistment, complete college, and become a journalist.

        John Phillips, Jr. was the oldest of the four children born to Nancy Brocksbank Fox, f/k/a

Nancy Brocksbank Phillips and John Arthur Phillips, Sr.. John’s father and mother separated and

were granted a divorce after bitter and divisive litigation. The emotional trauma of that divorce

still haunts this family.

        John’s mother testified that John was curious as a child and she remembers him taking

things apart and sometimes not being able to put them back together. John enjoyed reading and his

mother testified that he was issued his first library card when he was four years old. Every witness

testified that John loved writing and planned to go to college and become a journalist.




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       John’s mother said he was a good older brother, she said he had a connection with everyone

in the family. As an older brother, he had good relations with his sisters and he took care of his

younger sisters and brother. His sisters and brother testified that they did not fully appreciate his

contribution to the family until they grew up.

       John A. Phillips, Jr. attended New Trier High School, and he played football, basketball,

and lacrosse. John’s mother said that John was the type of person who would ask the quarterback

he just tackled if he was hurt. John was the sports editor of his school paper and worked on the

school yearbook.

       Victoria, John’s sister, said that John was a rebel in high school; he didn’t work at things

unless he cared about them. John’s father testified that John was a “free thinker,” charismatic, and

engaging. In high school, his father remembered, “John was John.” There was agreement among

the family that John’s father and John often argued about John’s academic performance. His

mother said that John was bored in school and when he found something he liked to do he just did

it; he did not always apply himself to his studies.

       John had a great group of friends in high school. After graduation he enrolled in Southern

Illinois University, but left after one semester. Both John’s father and mother testified that John’s

uncle, Robert Brocksbank was a tremendous influence on John. He was a Marine Corps veteran

and served a role model for John. In regular conversations with John, his uncle would explain the

brotherhood felt among Marines. Both of John’s parents testified that Robert Brocksbank probably

influenced John to enlist in the Marine Corps.

       John enlisted in the Marines and immediately developed maturity. John graduated first in

his class at boot camp and was made a platoon leader. He excelled in his Marine training and, as

an incentive to re-enlist; he was offered a slot in the Marine Officer Candidate School. John was




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trained in electronics and communications, held a security clearance, and installed and maintained

his units communications equipment.

       Every family member testified that they received regular letters from John. John’s father

testified that he had almost daily correspondence with John. John’s mother, sisters, and brother all

testified that they received regular and frequent correspondence from John.

       His father and mother said that they each received telephone calls from John while he was

in Beirut. His father testified that when John was on guard duty, patrolling the perimeter, he would

stop his unit, climb a telephone pole, tap into an international telephone line, drop a line to the

ground and connect that line to equipment and make calls. The other men in the patrol would stand

guard as these calls were being made.

       John’s sister, Victoria, summarized her thoughts when she said John just got his act

together, on his own terms, and now he is dead.

       NANCY BROCKSBANK FOX, f/k/a NANCY BROCKSBANK PHILLIPS, a/k/a

NANCY BROCKSBANK SMITH, mother of John Arthur Phillips, Jr. (Deceased), testified that

her son deployed to Beirut on Mother’s day in 1983 and landed on Memorial Day. Nancy B. Fox

testified that when he left for Beirut she was not worried for his safety and had no idea he was

going off to be killed.

       She received many letters from her son, and she believes her brother, William Brocksbank,

John’s uncle, also received regular letters from John, which may have more, honestly discussed the

conditions on the ground. John’s mother recalls getting about two letters per month and her brother

got one letter per week. Nancy B. Fox remembers that on August 6, 1983 John called her from

Beirut wishing her a happy birthday.




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       Nancy Brocksbank Fox is currently retired and married to William Fox. She was married to

John Phillips, Jr.’s father, John Arthur Phillips, Sr.. John was oldest of four children, two younger

sisters, and brother Harold. An incident that came to mind while Mrs. Fox was discussing her son

was that John always wanted to be a writer and loved to read and play around with words. He was

the sports editor for the New Trier News, his high school newspaper, and he worked on the

yearbook. John was curious about things and would take things apart and not always able to put

them back together. He got his first library card at four years old. He was a good athlete and

played football, Lacrosse, Basketball, and enjoyed writing about sports. He seemed to be a good

older brother as she observed him with his siblings. He was a good child, not hard to handle. John

was not resentful of his brother Harold’s sports talent. John just enjoyed playing and did not want

to be the captain of the team as Harold did. John would apologize to people on the other team that

he knocked down or hurt. Harold was more of the “I’ll get them” type of player.

       John would not argue the point; he was a good listener. John would wait his turn and then

say what he wanted; he would set his course and stick to it. He wanted to go to college after the

Marines and be a writer and no doubt he could do that.

       John related to his sisters well. They each had different relationships because of the

difference in his sister’s ages. John was a good brother and got alone with both of them – he got

along with everybody.

       Nancy Brocksbanks Fox’s brother was in the Marines and he spoke very highly of the

Marines. This influenced John. Uncle Robert Brocksbank gave the eulogy at John’s funeral.

       John was scheduled to leave the Marines in 1984. John was twenty when he joined the

Marines. She does not remember a conversation with John about going into the Marines. She was

fine with John’s decision and that was because of her brother’s Marine Corp experience. Her




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brother always talked about the brotherhood of the Marines, once you are a Marine you are always

a Marine. She was not worried that John would go off and get killed; it was not that kind of

situation, it was after Vietnam.

       In Marines things went great for John; the Marines were good for him. He went through

bootcamp and came home and was proud of what he had done. He was chosen top guy in

bootcamp and that was the highest honor you could get. Her brother Bob saved every letter John

wrote, as did she. He wrote to his sisters and brother. The letters to each person were different.

He wrote to the person, what they would want to hear.

       After Marines he wanted to go to college, a respectable college, and become a writer, no

doubt that he would. His sister, Liz, is still working on obtaining her college degree; the other

children have all completed college.

       In 1983 there came a time that John said he thought his unit was going to Beirut. Nancy did

not know of a problem with his going to Beirut. John left the U.S. on Mother’s day and landed in

Beirut on Memorial Day. John never indicated that he was nervous. John wrote less when he was

in Beirut because did not have time; Nancy now believes it was getting “harry” over there and he

avoided writing letters because he did not want his mother to know. She got two letters a month,

her brother got one a week because he could say more to him. John called his mother on her

birthday and she learned after he was killed that he had climbed up a telephone pole to call her.

       John talked about his roommate JJ. JJ survived the blast. He was quite broke up about it

and her brother said not talk to him about it anymore. He woke up just before the blast and John

was not in bed and JJ thought he must have been on guard duty. JJ was in the BLT building. She

has spoken to a few families over the years and also some survivors of the Beirut bombing.




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       October 23, 1983 Nancy heard about the bombing on the radio while she was getting ready

to go to church. She thought from a recent letter that John was in Turkey. His father knew he was

in Beirut and not in Turkey and this was confirmed as the day went on. She thinks it was Tuesday

night that the family learned that John had been killed in the blast. They felt lucky that they did not

have to wait as long to learn as some of the other families. She was on the phone with her brother

and he said that most would not survive the blast except as a vegetable. The doorbell rang and she

must have been prepared but still she thought “how could this happen.” She must have been in

some kind of shock. The kids said later she did not even talk to them and walked around crying.

She tried to remain calm because if she lost it she did not know if she could get it back. Liz, the

youngest Phillips child, said that her mother did not tell her for quite a while. She feels bad about

that. After she heard John was killed she spoke to her brother again.

       Daughter Victoria graduated in 1983 and son Harold was in his first year of college. Harold

had to transfer instead of taking summer classes and she thinks Harold might have been home when

this happened. Harold was really angry, which in a way is good to get it out. “He was going to go

over there and get them.” Liz felt left out, as happens with youngest child when others try to

protect them. After some time passed Nancy talked about John’s death often, especially with Liz.

Nancy had been advised by the family Minister that she needed to make sure Liz really understood

what happened to her brother in Beirut. Liz did not want to go to the funeral home and see the

body and no one forced her because she had been scared before and the family did not want her

seeing John’s body to scare her again. Nancy said she wanted to be there as they lower the body

into the ground; the Master Sergeant made sure they were allowed to be there. Liz was very upset

but maybe it helped her understand. Liz does watch and did watch the videos that they had. It is

sad for Liz because her brother John has not been there for her life events. Liz and John were very




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close but they did not have as long of a relationship as the others. Nancy B. Fox testified that

John’s death affected each of her children differently. She believes that Elizabeth was traumatized

by her brother’s death. She missed him during high school, her marriage and the birth of her

children. John’s mother testified that her two older surviving children knew John better and their

sorrow and grief was different.

        Victoria was a year apart in age from John. Nancy cannot imagine how it affected her. She

named her second boy after John and called Nancy from the hospital to tell her. Nancy and Liz

talked a lot but the others did not. Victoria calls her son by the name Jake and he kind of looks like

John a little and that similarity is good for the family.

        Nancy and John Sr. were divorced in 1979 and John was killed four years later. Nancy has

never talked about John’s death with her ex-husband and so she does not know how he felt then or

how he feels now.       John’s mother testified that she believed John’s father had difficulty in

expressing his feelings. She testified that the first Thanksgiving and Christmas without John were

very difficult but the holidays during the second year were terrible. It was her son’s absence this

second year which drove home the reality of his death, and this absence gave her great sorrow.

        For Nancy the second year after John died was worse and harder than the first year. The

first year you expect things to be difficult, family events, holidays, and birthdays. The second year

it is for real, “it is really, really, done.” To move on with her life it was helpful to have certain

tangible things that she could go to. John’s friends from high school planted a tree in the park in

town and that is a place for Nancy to go to be with John because he is buried at Arlington National

Cemetery. Since her son’s death, Nancy B. Fox has been deeply involved with both the survivors

and families of those who served in Beirut.          John’s mother visits Arlington every year and

participates in remembrances for the Beirut veterans.




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       The town library put up a flag and a plaque with John’s name on it. John’s friends planted a

memorial tree and plaque of remembrance in the Wilmette Park. Nancy B. Fox assisted the Village

of Wilmette plan, construct, and dedicate a veteran’s memorial which remembers her son with the

other veterans of the Village who have been killed in combat.

       John’s mother will never forget her son; she testified that she needs tangible things besides

pictures. She testified that she goes to his memorial tree, talks to him and asks him for help. On

the 20th anniversary of the terrorist bombing, the City of Chicago and Midway Airport re-dedicated

a plaque as a remembrance of the Chicago veterans killed in Beirut. Nancy B. Fox was in

Washington D.C. at the ceremony at Arlington National Cemetery and her daughter Elizabeth was

asked to give the dedication speech. Elizabeth’s speech was quite compelling and Nancy B. Fox

and her husband forwarded her speech to the newspapers for publication.

       No Greater Love and Beirut Connection (Newspaper) have helped Nancy because it helps

her to see other people going through the same thing. People tend to reach out to others at times

like this. She finds comfort in talking to other.

       Nancy wanted to join the litigation because she was raised to believe that if you “do

something naughty then you should pay.” It is not right that they could kill all those people and not

have to pay. Nancy would want to explain to the leaders of Iran that doing what they did is not the

right way to live in this world and that there are other ways to work out your differences. What

they did should not have entered their mind and they should have worked out their problems in a

more human way.




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          There is always good in bad in our world and Nancy has worked to make herself

comfortable with the way things are. She has been able to help her husband, Mr. Fox, when he lost

his daughter six years ago because she has felt how it is to lose a child.

          JOHN ARTHUR PHILLIPS, SR. is the father of John Arthur Phillips, Jr. (Deceased).

John, Sr. was the first person in his family to receive a Baccalaureate of Arts degree; he has one

sister. His generation was the first to escape the coalmines, they were Welsh coalminer. John, Sr.

worked for Mobil oil and retired in 1993. John, Sr. was married twice, first to Nancy then

Elizabeth, to whom he is currently married. John, Sr. and Nancy had four children, John, Jr. was

the oldest.

          John, Sr. remembers his son as a “free thinker” and describes him as highly intelligent,

charismatic, engaging, a wordsmith, writer, and artist. John wanted to be a journalist. When he

first thinks of John and his early life he remembers him always debating with his grandfather. He

had some early difficulties at college and decided to go into the Marines and it was wonderful

experience for him. It shaped him up into being a man. He was only a few weeks from being

discharged, which made his death even more of a shock. John was in his second tour of duty in

Beirut.

          John graduated number one from bootcamp. He moved through the ranks quite fine. John

A. Phillips, Sr. recalled his son talking to him about his shooting skills being the only thing that

was not perfect and John, Sr. took his son out and practiced marksmanship with WWII weapons

and he testified with pride that after that John was rated an expert in marksmanship.



          John A. Phillips, Sr. received almost daily, letters from his son. John’s Father testified that

this was his son’s second tour in Beirut. He testified that John could not discuss the tactical




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situation because of security concerns, but expressed frustration with their peacekeeping mission

and he hinted that the conditions were getting a “little dicey.” John told or hinted to his Father that

snipers firing at them and they were not allowed to return fire. John told his Father that the United

States Marine Corps were warriors and not designed for peacekeeping. He told his father that they

were first not issued weapons and then when they got weapons they were not issued ammunition

and they were not allowed to return fire. John’s father recalled his son’s final letter wherein John

stated that “I chose to be here and I will do my best.”



       John was close to everyone in the family but he and Victoria were born thirteen months

apart and went to school together. John was a free spirit and a wordsmith. He used big words as a

kid and used them often. He spoke well and was very intelligent. If he did not agree with a

schoolteacher he blew it off. In the Marines they taught him to follow instructions with pride.

John was not jealous of his siblings and their abilities and accomplishments. Once John got out of

Marines John felt he would do quite well in college. They offered him officer training and his

father encouraged John to take a look at that but John wanted to go back and go to college and be a

journalist. He had traveled all over the world and had a lot of things to write books and articles

about right now. His ability to write and draw were tremendous.

       John’s brother Harold was the athlete and Victoria was the student of the family but John

was never jealous. John was John and sure of himself.

       Before entering the Marine Corps John attended Southern Illinois University for a year and

he drove a limousine and a liquor store delivery truck. He was a kid that tried to keep his hands

full of money until he found himself. When John told his father that he was joining the Marines he

thought it was fine and the Marines are all gentlemen. John joined the Marines to straighten out.




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John’s Uncle Bob Brocksbank was a Marine and a great guy. John was proud of him and he was a

role model for John. Uncle Bob was Nancy’s oldest brother. John became a successful individual

in the Marines because they gave him challenges and he saw guys floundering and he assumed

leadership. John became a sergeant in four years and that was quite an accomplishment.

       John could not write much detail about the situation in Beirut because of his security

clearance. John, Sr. got quite an education about what was going on over there from John. Beirut

was the beginning of the terrorist movement in that area. John telephoned his family from Beirut.

He wired the Beirut Hilton, basic electricity and telephone lines. On dull days they would go to

ride the perimeter and they would go up the telephone pole and dial numbers anywhere in world.

His father knew when he had not heard from his son within 48 hours after the bombing that he had

been killed because John knew how to contact them.

       John, Sr. was apprehensive about his son’s safety in Beirut. John, Sr. wrote a letter to

President Reagan after he got a letter from his son describing things he had to do that were contrary

to training. John, Sr. wrote to the President saying he was a proud father of proud marine that

volunteered to be a peacekeeper. He said he wished his son was home and just hoped that the

President’s people were looking at the security in that place so no harm would come to those men.

John, Sr. said he was sure that he spoke for all the fathers of the Marines in Beirut. Three to four

days after John died John, Sr. got letter from the President assuring him of John’s safety.

       On October 23, 1983 John, Sr. found out about the attack when he and his second wife were

at a church retreat with middle school children. He was an avid short wave radio user and had a

radio with him on the retreat and had it set to wake them up at four in morning when he heard

about the massive explosion in the Marine barracks in Beirut. John, Sr. got the children together

and prayed and held hands. John, Sr. took the children home because he could not function.




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       John’s father testified that at the time of the explosion, John was on duty at ground zero.

The building guard had weapons but they were not loaded, clips were not in weapons. John’s father

testified that he knew his son had been killed within 48 hours.

       John, Sr. said that every member of the Phillips family dealt with John’s death differently.

He testified that he tried to be the head of the family and prayed for the right words. He recognized

that he was a pressure point and he remembers returning from church with his three children and

they wanted to know why God did this to them? Their father answered “Why Not?”

       Overnight their family had changed. It affected each member of family in decidedly

different way. John, Sr. was trying very hard to be the head of the family and to hold family

together and prayed to God to give him the right words to use in response to his children’s

comments that “There is no God or he would not have done this to John and done this to our

family.” The family banded around his residence. He tried to tell himself and his family that they

are prepared to be strong and the average family could not be so strong. Instead of why they

should say “why not?”

       No pictures on the news gave him hope that John was alive. He knew better. There was no

indication that John survived the initial blast. John, Sr. went to view the body, he does not like

open casket ceremonies. He recalled that his son Harold went with him to view the body. After

viewing his son’s body, John, Sr. can guarantee he did not survive the blast. The Phillips family

insisted on a full military funeral and that John’s body be sent to Arlington Cemetery. The church

took up a collection for money to ship body to Arlington. John wanted to be buried in Arlington

with the rest of the Marines.

       The church and the neighborhood support was fantastic, there was a continual pot of soup

and perpetual hugs that helped their family get through it.




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       Everyone in the family mended at a different rate and different way. Harold threw himself

into football, rugby and soccer. Victoria was having children and became the super-mother of the

century. Elizabeth was the slowest to mend and she had the biggest questions about how God

could let this happen. She started a one-woman boycott of church. The family made Elizabeth get

married in church even though she wanted to go to Las Vegas. The minister let them write their

own vows and service. It could be what they wanted. They wrote a service that was more

conservative than usual at church. Now she has twins and they go to church regularly.

       John, Sr. has not participated with support groups like No Greater Love and other

remembrance groups because he does not grieve or pray in public. The last time he was at

Arlington National Cemetery he was filled with grief and watched and looked at all the

gravestones. He still lives with the pain to this day. Iran is inflicting pain on all of us right now.

       Iranian leaders that ordered bombing in Beirut are still in government and active and John,

Sr. hopes this case sends a message to these people to stop the killing. That is more important than

revenge. We have to hurt their pocket books because it costs money for bombs and ammunition.

John. Sr. believes that President Bush is doing good job and what is happening in Iraq could next

happen in Iran.

       Public awareness is important. This is the same terrorist organization that we are fighting

today. They are trying to destroy us. John, Sr. would like to see some monetary settlement. Many

parents of the Marines killed in Beirut are not as well off as he is, they did not escape out of coal

mines as fast as he did, they could use some financial help.

       He believes that if John had known what we were getting into in Beirut he would have

made same decisions and gone just the same. He would have not backed off. Do not ask why just

ask why not us. We need to send our best to make peace.




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       VICTORIA JACOBUS, sister of John Arthur Phillips, Jr. (Deceased), was born on May

11, 1961 and graduated from Albion College in 1983. Victoria is married to Charles Jacobus, Jr.,

whom she met in college, and they have four children.

       Victoria describes her brother John growing up as a good oldest child and he helped to take

care of everyone. Victoria and her siblings did not realize how important their brother John was to

the family until they were older. John is twelve months older than Victoria. John looked out for

everyone and connected with all the children in family. John was a rebel in school and did not do

well in school and this frustrated her parents. There were a few classes he liked and did well in and

would do the work but the rest he did not do any homework or study. John called Victoria and her

friends the “rah rah” group and he thought his friends were just not as cool. John was not in the

jock group. He would argue with his parents about school. John did what he wanted to do. John

went to Southern Illinois University for one year and flunked out because he did not go to classes.

John had a job. Their parents said he needed to do something he could focus on and that is why he

joined the Marines. Victoria got good grades so that she would not rock the boat.

       John joined the Marine Corp and loved it. He was top in his bootcamp class and became a

completely different person. After the Marines John wanted to go to college. He had the will and

planned to go to college although Victoria did not know what John wanted to study in college.

       John exchanged letters with Victoria a lot and she regrets not having kept the letters.

       The Phillips’ parents separated when Victoria was in her senior year in high school. John

reacted by drinking and hiding his emotions a lot and getting into that troubled college scene.

Victoria tried to talk to him about it and John was very matter of fact and said they could not do

anything about their parents’ marital problems. John was right and she realized it was not their

fault. The family was in disarray but John was able to look at the big picture.




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        Before John joined the Marine Corps he was a leader without a cause. He was a leader at

home. We could talk to him about anything. It bothered her mom a lot that John was not doing

what he supposed to do in school. Their father was a self made man and thought your only way out

was education. Their father worked as a salesman for Mobil Oil and now has own company.

Victoria was raised to work and their father saved all his money to send them to small private

liberal arts colleges.

        After John joined Marines he stayed in touch with Victoria. John would tell Victoria he

was in love with the Marine Corps and it gave him a sense of purpose and more success than

anything else.    John did have limited success in high school writing articles for the school

newspaper. John wrote real letters not just brief notes. John always asked about her college and

about Harold. John always cared about everyone. Their mother’s second husband was not the

greatest guy and John worried about their youngest sister Elizabeth. John’s letters expressed more

concerned with how Liz and others doing, when was Victoria getting home, expressing his pride in

Harold, John was never jealous. Victoria was dating her husband at the time and dating other

young men too and John would say, “What are you doing? “You are going to marry that guy.”

And Vic would say, “How do you know?” But he knew.

        John was considered a leader in the Marines. John obtained the rank of Sergeant and

therefore took direction from the Marines officers and not from teachers in school. Victoria asked

him about that and he said probably more of a timing thing and that it was just time for him to grow

up. Victoria’s oldest child is a little like John in that he does what he wants. All the teachers and

kids at school love him, he is smart and has a 3-point grade average at a private school but he could

do better. Her son reminds her of John because part of John was just immature at the time of high




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school. It was just timing and he was willing to work hard in the Marines. Once John saw he was

a leader and could succeed in the Marines he liked it.

        The Jim Avila television interview affected her parents in that her father who was

introverted was more nervous about John being there than he ever let on. Their father would say,

“I think it is great, John is happy but I’ll be glad when he gets home.” Their mother was proud of

him in the Marines and when he died she just went crazy, it was hard for everyone to see their

mother so devastated.

        When the television report on Beirut came out Victoria had just graduated from college.

The videotapes were difficult for her to watch; after her brother was killed it was even more

difficult – “seeing a person you love alive on tape and you just put yourself right back there again

and it is really difficult.”

        John’s style was that he did not want anyone to worry. Their father indicated that he

thought John had been shot or shot at. Their dad said John did not say what was going on he just

inferred. “Things are getting pretty harry here, we have to keep watch all the time. But enough

about me.”

        Their mother and John were very close. John was her first born; he reminded her of her

father and she thought her husband was too tough on John about his academics. If John had been

able to return home and go to college there is no question that he would have been able and in fact

successfully completed college. He could see that is was important to get a degree. He even talked

about going to college somewhere warm like San Diego.

        On October 23, 1983 Victoria learned of the attack when she was in Milwaukee, Wisconsin

visiting her husband that she was dating at the time. She was staying at his parent’s house on the

west side of Milwaukee and he was living in an apartment. His parents woke him up and said it




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was on the news and he woke Victoria up and she knew right away that was her brother’s building.

She knew she had to go home right away to see her parents. She was living in downtown Chicago

at the time but drove right to her parents’ house.

       All of the Phillips family was thinking negatively but their father was thinking that maybe

he had taken liberty – he thought he might have gone to Cairo switching leave with someone.

Everyone in the family was going crazy. She woke up Sunday to the news and she forced herself

to go to work on Monday. Tuesday night was when the doorbell rang at her parent’s home and the

Marines informed then that John had been killed. During the day on Tuesday Victoria remembers

her mom was really falling to pieces when she checked in with her – she was saying, “he would

have called.” Victoria yelled at her mom to stop being negative! Thinking back her parents were

newly divorced and it was very hard. Victoria was on the phone talking to her husband when the

doorbell rang. Her father answered the door and said “oh god, this is it.” She hung up the phone

and everyone just was screaming. Harold walked over to their mom’s house and the Marines were

there telling her. They said John had been identified. This hit her father and he was just crying and

crying and blowing his nose and crying more. He was not wailing, it was just a constant sorrowful

cry. She remembers that she, Harold, and her mother were wailing and out of control. Her parents

kept hugging each other and that was weird because they were divorced. At the time Victoria was

still holding out hope their parent would get back together.

       The Phillips family were members of the First Congressional Church of Wilmette, Illinois.

Many of the members of the church congregation came to the house and joined in prayer circles.

Victoria thought she did not want everyone in the house. She did not want everyone praying and

thought, “praying for what – this is it. John was such a cool person.”




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       Victoria’s mother is very emotional and she just went crazy. Her mother was unstable

anyway. Her mother married the first guy that came along after her divorce and she really

shouldn’t have. Victoria worked in Evanston and checked in on her mom and often found her just

crying with a glass of wine in her hand. Victoria would say there is nothing you can do to change

this and she was still a mother to her other three children. Her sister Liz was still young and

needed her mother but her mother was emotionally absent. In retrospect Victoria thought she may

have been too hard on her mother. Her mother had married a man who was mentally ill. Her

mother and second husband would spend hours and hours writing letters to Ronald Reagan and

other members of the government.

       Victoria did not go to visit John’s grave in Arlington National Cemetery until the twentieth

anniversary of the bombing. For the first years after her brother was killed it was all she could do

to cope and try to continue with her life.

       Her brother’s burial was at Arlington National Cemetery. Her parents rented a room for

appetizers. She just removed herself from it all. Emotionally she just could not be there. John

could have been so jealous of her and Harold because their life was perfect but he just adored her,

he loved her. John had gotten his life together and then he was killed.

       At the burial service Victoria started shaking and could not stop. Her uncle’s eulogy was

wonderful. Victoria was unable to talk even though she was a grown woman at the time. She

remembers thinking that her life had gone from really wonderful to just feeling like she was in a

hole. She has never really gotten over it. Her brother Harold kissed the casket. All John’s friends

stayed to the end and she was hugging them.

       For the next five years she was in inner conflict. Victoria got married in December 1984;

she had gotten engaged in March. A marriage is supposed to be such a wonderful family occasion




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but people were walking around with broken hearts. Victoria’s two sons were born in 1987 and

1988. It was hard for her to go through her life and feel blessed. They had two children and a great

marriage. They are a team. She has always felt there is a little bird saying she is lucky and yet her

brother didn’t make it. You grow up a little each year and out of tragedy you learn. She had

changed as a person and a parent from her brother John’s death.

       Victoria has not participated in any support groups but she did go through some therapy.

About fifteen years ago she was at a point where she went in for counseling because there were

issues with her mother and her mother’s second husband.               Her mother’s second husband’s

condition had deteriorated and Victoria was supporting her mother and paying some of bills. Her

mother was trying to hide her husband’s condition from her children. Victoria had two boys and

was pregnant with her daughter Eliza. Her mother’s husband was abusive and Victoria could not

leave her children with her mother anymore because she could not trust they would be safe.

Victoria was having huge arguments with mother and that lead to her going to therapy. All of her

emotions came out in therapy and it was all about her brother John and the huge hole in her heart

since his death. She could not talk about it ever for the first five years.

       Victoria’s children and she have an open relationship and talk about everything. Her

children have said that they could not believe she lived through her parent’s divorce and John

dying. She spoke to them about how you deal with thing in life the best you can. Victoria named

one of her son’s after her brother John but they call him by his nickname, Jake, because people said

it was too emotional to call him John, she disagrees but did it anyway.

       During an off camera break Victoria mentioned something that her oldest son did

something that made her sob – on Veterans Day he sent her an e-mail saying how proud he was to




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be associated and related to John and its affect on him. It was a very mature message from a son to

a mother.

       Victoria was in therapy thirteen years ago and since then John’s death affects her by

causing her to grow up a little more each year that passes. She is trying to see the good in things

more and has more of an ability to control her emotions even though she was crying throughout the

interview. She knows she must focus on things in a positive way. There are many people that have

experienced tragedy and you learn how to comfort other people from going through your own

tragedy. “A strange skill to develop” but that has been the growth point in her life. She does

struggle with the fact that she has a very lucky life, even though she believes you create your own

luck; she has been blessed, but she feels guilty when good things happen to her and this she has

struggled with for the last ten years. Victoria and her husband have a cabin up in northern

Wisconsin. She now can say that her brother John would love it up there. John would have been

married with children and would have loved to visit with Victoria and her family. She feels John

never got to experience life and he got cheated and she got the best. She knows that she could lose

it all tomorrow.

       The events since the 1983 Beirut bombing like the Embassy, USS Cole and 9/11 attacks

have caused Victoria to relive her brother’s tragic death and this makes her sad and angry. At the

time of the USS Cole, she remembers thinking “great, now all those families will be ruined and

broken.” Her husband asked, “Do you think you are ruined and broken?” The 9/11 attacks were

very hard on her. So many things in life that other people experience affect Victoria and make her

sad and angry, like drunk drivers killing people and children with cancer.

       Victoria understands that the goal of this litigation is to cause the Islamic Republic of Iran

to pay money damages to the families of the Marines killed in the Beirut bombing. She believes




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that no amount of money can bring back her brother and she would say that the loudest – but

someone should pay for it, even though she does not run her life that way. In this situation she

does feel that way and she would like this lawsuit to be successful more for other people than for

her; more for the children of the men killed. Other people are struggling, like her mother, Victoria

feels she is deserving of financial compensation too but she thinks it is unfortunate that people have

to die for other people to realize things. She understands that her brother took a risk when he

joined the Marine Corps. John knew being in the Marines was a risk and he believed in it 110%.

John would say, “hey stuff happens” but it’s just that we do not do a very good job of carrying on

without him.

       Planners of the attack in Iran are still alive and for that reason full speed ahead with the

litigation, more than just the money, people there are still masterminding terror and it has to stop.

Knowing that this case will send a message to the Iranians, Victoria would want to say, “How

could you” and she fears that will not make any bit of difference. They have no idea all the pain

that these deaths create. She would plea for more tolerance and peace. The family used to discuss

war and why we have and need it. John would say that sometimes war is good. Things are

changing in the world and there needs to be more tolerance and acceptance in the world. She needs

more time to prepare what she would say. But she would ask them to stop what they are doing.

       Currently her mother is married to Bill Fox and he is wonderful and a positive human being

that has helped her mother realize that life is for living. He makes her mother happy and if mom is

happy it makes it better for everyone. Bill Fox lost a daughter five years ago. Bill had some

difficult years and Victoria’s mother was able to help him and that is a testament to Bill’s

personality.




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       Her sister Liz did not know John as well as the other siblings and Victoria feels sorry for

her. Victoria tried to keep the yelling away from Liz when she was young – the yelling from their

father to John about his doing not well in school. John tried to take care of Liz. After John’s death

Liz first felt that she did not really know John so she did not have reason to grieve and that was

very sad.

       Victoria’s brother Harold and John were opposites. Harold is a big guy and he did not give

John the time of day. Victoria took control of cooking dinner and taking care of her sister Liz.

Harold was raised to be able to do whatever he wanted because he was a star personality. Victoria

would secretly talk to John about it and he would say that was just the way it was – “what do you

need I’ll give it to you.” Harold was in newspaper a lot and had lots of girlfriends and John could

hardly get one. Harold had to reconcile and deal with that as he got older.

       HAROLD PHILLIPS, brother of John Arthur Phillips, Jr. (Deceased) was born January

23, 1964. Harold’s first marriage ended in divorce and he has re-married and has one child.

       Harold testified that he and his brother John did everything together. John was 4 years

older than Harold, and Harold remembers playing football baseball and hockey with John.

       Harold testified that John had a talent for writing and was an artist. He recalls that his

brother was the sports editor of the high school newspaper. He recalled John entering a national

writing competition and winning an award. Harold testified that John was highly intelligent and

scored high on intelligence tests. Harold recalls his father placing great importance on his children

completing college. Harold said that John was an opinionated guy who was not challenged in

school and chose to defend the country. Harold testified that John didn’t know what he wanted and

he joined the Marines. Harold recalls that his father and mother were proud and his uncle was a

Marine and a legacy.




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       Harold described the Phillips family as close knit and recalls their camping trips, going to

church together, and going on trips together. Harold knows his sister Elizabeth was separated in

age from the older kids.

       Harold testified that John wrote him often but his letters were burned in a college fire. John

wrote a letter to Harold saying that the Marines’ boot camp was the hardest thing he had ever done

and he was proud to have been chosen platoon leader. John was promoted and was a Sergeant at his

death; he was an electronic communications specialist. John wrote his brother that he intended to

finish college after leaving the Marine Corps.

       When John went to Beirut Harold was in his first year of college. Harold recalls family

political discussions and the Phillips family reaching a consensus question – “why are we there?”

John wrote and telephoned and expressed frustration on rules of engagement. The Phillips family

discussed the political unrest but John did not discuss tactical matters.

       John wrote to every member of the Phillips family including his uncle and his letters were

different to each person. Harold thinks John’s letters to his uncle may have discussed more

military issues. Harold recalls receiving a couple letters per week and John discussing general

topics. Harold said his Mother was not worried about John being in Beirut.

       Early on October 23, 1983 Harold recalls a dream about his brother. A TV was left on in

the dormitory and Harold saw the news story of the Beirut attack. Harold knew his brother was

there and he recalls the video painted a picture of distraction after a catastrophic explosion.

       Harold was angry and he called home and confirmed that this was John’s building. Harold

flew home and recalls his family as being upset. Harold was optimistic because recent letters from

John indicated that he could have been on leave but the family didn’t know where john was at the




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time of the bombing. Harold remembered that there were a lot of television crews around the

house.

         At the time of John’s death Harold’s parents were divorced and both parents were

remarried. His father owned a house a couple of blocks from his mother. The next days were

fuzzy for Harold, he recalls the doorbell ringing and he started to cry; he was unable to open the

door and his father answered the door. Harold, Victoria and their father held each other and cried

when they received the formal notification that John had been killed in the bombing. Harold

thought his brother survived until this formal notification.

         Harold remembers walking to their mother’s house with his Father and sister and seeing the

notification team on the porch. Harold testified that his mother was devastated and his father was

an emotional wreck; his father and mother dealt with their grief in different ways.

         The Phillips family went to O’Hare Airport in Chicago, Illinois to receive the body. The

Phillips family was concerned if John’s was really in the casket.

         It took Harold more than 5 years to overcome his grief. He described to the void in his life

every Christmas and October 23. Harold said that their father and mother still do not talk and the

Phillips family remains fractured. Harold believes the Phillips family is not close since John’s

death; they are in different places and he wonders how it would have been different if John were

alive.

         Every year their mother goes to Arlington National Cemetery and is involved with No

Greater Love. She has reached out to other families of the Beirut bombing victims. Harold

believes that no member of the Phillips family has recovered from John’s death but he feels his

Mother remains deeply affected by the loss of her first child.




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       Even though there was a significant gap in their ages, Harold testified that John and

Elizabeth had a special relationship. He took care of her and a bond between the oldest and

youngest child developed. Elizabeth was 12 years old when John died and it was difficult for her

to understand the situation. She asked a lot of questions and wanted to know “Why did it happen?”

       Harold testified that the Phillips family did not get together for family events and holidays

after John’s death because of the sadness and emotional damage suffered by the family. It was too

difficult for them to sit down together because John’s memory would dominate the discussion.

       Harold’s wife is French and French troops were attacked on October 23, 1983 and some

were killed. Harold has spoken to his wife about John. He doesn’t discuss John with others except

select friends and Marines. Harold has returned to Arlington National Cemetery and testified that

on one trip he forgot where his brother was laid to rest. The Arlington National Cemetery office

was closed and he began to walk around the cemetery looking for his brother’s grave. He spoke to

another visitor and they told him were some of the Beirut dead were buried. Harold went to that

area and began to look for his brother’s grave. He couldn’t find it and became frustrated and began

to cry. He then looked down and saw he was standing on his brother’s grave.

       Harold has a mural in his home with family pictures and every day he shows his young

daughter pictures of their family. He has told her about his brother John.

       For Harold, after more than twenty years, the pain from the loss of his brother has not

healed. Not a day goes by when he doesn’t think of his brother and Harold wonders about the time

they could have spent together and what their families would have been like had John survived.

       ELIZABETH PHILLIPS MOY, sister of John Arthur Phillips, Jr. (Deceased) was born on

December 19, 1970. Elizabeth has twin children born in 2000. Elizabeth Phillips Moy, Liz, was

twelve years old when her brother John was killed in 1983. Even through there was a large age




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difference Liz and John had a very special relationship. John treated Liz as an equal and not just a

bratty little sister. When John was home they would do special things, he took her to Cubs games,

shopping, and included her in his life. John called Liz by the pet name “Lizzard.”

       John enlisted in the Marine Corp for four years and was due to be discharged in the spring

of 1984. Liz and John never discussed why he joined the Marines but Liz believes her brother

embraced the Marines experience. John was the first in his Marines class and obtained the rank of

Sergeant.

       Last time Elizabeth saw her brother John was Christmas 1982. The last time she spoke to

him, from Beirut, he and a Marine buddy climbed up a telephone pole and called their mother for

her birthday and Liz answered the phone. She thought her brother was amazing. Liz knew her

brother was part of peacekeeping force in Beirut but Liz was afraid for him because she considered

it a scary place even though everyone said it was okay.

       John Phillips attended New Trier High School, a high ranked high school in the north shore

suburbs of Chicago, Illinois. John played football but his big interest was writing and he wrote a

regular article for New Trier News called the Armchair Vegetable. John planning to go to college

and major in journalism.

       1983 Elizabeth Phillips Moy was living with her mother and her parents were divorced.

Their mother remarried to a man named Bruce Cushing Smith. Their father lived two blocks away.

There were issues between their mother and father and their divorce was not pleasant. The divorce

was difficult for the Phillips children too. The Phillips family was all members of the same church

which made holidays difficult because the children did not know which parent to sit with in church

and which parent’s house to spend the holiday celebrations.




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       On October 23, 1983 Liz remembers it was a Sunday and the television was on and she

heard the news about bombing in Beirut. At the time Liz did not know if it was the “Beirut Hilton”

that was bombed. Prayers were said in church. No one knew how many people were killed. It was

all very confusing for Liz.

       Various people told the Phillips family “ no news is good news.” “He may be in a

hospital.” A minister came to house and the whole family rallied around. Their parents were and

still are very religious people so they prayed for John to be alive and safe. The family was glued to

the television and they bought a VCR and taped every news broadcast about the Beirut bombing.

       Television journalists wanted to interview the family. Liz recalls that one month earlier Jim

Avila did a piece for Channel 7 Chicago on six local Marines. Now those videos are priceless – to

be able to see her brother John a month before he died. Although Liz has not shown the videos to

her children yet.

       The Phillips family sat and waited for news about John. They kept the fireplace burning

because John liked it. Then Liz recalled that their mother went outside to get some wood and saw

men with white hats and she knew it was bad news. The Marines went to their father’s house and

told him first. Everyone was in shock when they received the news that John had been killed; it

was about three days after the bombing.

       Elizabeth had no idea at that time how much she would miss her brother John and the

impact his death would have on the rest of her life. She felt so strange because attention was

focused on the Phillips family and people were asking how she felt. People whispered about her

brother’s death in the junior high that she was attending.

       As Liz grew up the impact of the loss of her brother got worse. John would have done

anything to be a part of her life, to see her high school graduation and wedding. Liz married a great




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guy and John would have wanted to know him and be involved with them and their children. John

will never know her children. Liz was so young when he was killed that she thinks about it now

and goes through it again in her mind because at that time she did not understand about Beirut and

what was going on there.

        It is gut wrenching for her as an adult to think that in last twenty years how far we have not

come. Liz was distraught about USS Cole. She reached out and wrote a long letter – which was

probably more therapeutic to her. She wrote that many people do not know about it and she

understands. Just like many people do not know much about Beirut bombing and how it affected

her life and the lives of so many others.

        It is hard for Liz to believe John was only twenty-four at time of death. It was hard for her

to turn twenty-four because she lived longer than her brother John. Liz misses him every single

day and thinks about him in some capacity everyday. Death is final.

        There were many things going on in the Phillips family in 1983, her parents were divorced

and her step-father was a manic depressive and John as the oldest did what he could do to help and

be supportive of Liz because she was the youngest and still living at home. Liz knows she should

have gone into therapy at that time and did not and she still struggle with many issues. Liz and her

siblings have never sat down and had a discussion about John; it was not a taboo subject but just

that they did not do it.

        The twentieth anniversary of the bombing was hard. All the Phillips children had gotten

married and had children themselves. She spoke to her sister Victoria a lot around the twentieth

anniversary. Victoria has more memories of their brother and Liz wishes she had more time with

John.




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       There is a video record of her brother’s funeral.        Elizabeth remembers watching on

television as the first seven bodies come back to the United States; she did not know at that time

that one was her brother John’s body. The family met the coffin at O’Hare Airport in Chicago,

Illinois, with the funeral home hearse. They had no idea how he died. They thought that his body

could be in a million pieces. Liz could not go in to see the body even though funeral director said

he looked okay because her parents worried about her not accepting his death. People came to the

funeral just to pay respects that did not even know family. People from the whole town brought

lots of food to house. Two eulogies were said at the funeral, one as a Marine and one not as a

Marine. Liz did not cry at time but it affected her so much more as she grew up than at that time.

Brother Harold kissed the coffin while taps were being played, even though it was big no-no he did

it anyway.

       A week to ten days later the family went to Arlington National Cemetery. Liz could not

watch her brother being lowered into ground even though parents wanted her to look.

       Liz still dreams that John did not die but is a POW and will swim back home. These are

nice dreams because her brother is talking to her. Liz still has hard time hearing taps being played.

       Elizabeth went on her eighth grade trip to Washington, DC. It was hard for her and her

school made special arrangements for her to see her brother's grave. Family friends met her there

and that was nice. Seeing all the tombstones make you know the awesomeness of it. Liz watches

the videotape of funeral at Arlington National Cemetery every three or so years – it may seem

morbid but it helps her.

       The Phillips family was not stable at time and it was helpful that John had written letters

outlining what he wanted for his funeral. John even directed where he wanted his possessions to

go.




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       In 1983 Liz knew John was in position in the building as part of multi-national force of

military people trying to stop non-military people from fighting. Liz was unaware at the time of

the horrible position that her brother was in with no ammunition and limited ability to fire back.

       Liz has spoken to her father over the years about John. He misses John; John is his junior,

that means a lot. Both of the Phillips parents had a lot of hopes and dreams for their children – to

see his struggles in young adulthood that he overcame and then not to live to enjoy success. Her

father is a very spiritual person and is quite “matter of fact” about death and believes he will see his

son when he dies. Her father feels a great deal of pain but trying to go on with life the best he can.

       John Phillips, Jr. was the glue that kept the Phillips family together.

       Their mother has been involved with the Beirut organizations – dedicated a wall near the

fountain at the Village Hall in Wilmette, Illinois with names of all people from Wilmette that were

killed in the Military. Their mother gave a speech and she was on committee that designed it.

       On the morning of her wedding day after staying at her father’s house they went to Gilson

Park in Wilmette, Illinois to the tree that was planted to honor John. They placed roses there and

sat down – he would have been first in line at her wedding day.

       Liz would give anything to have five minutes to talk to her brother now, to know his dreams

for his life, and for him to know hers and her husband and children. Liz would have called him

every couple of days just to talk. Elizabeth feels she was cheated.

       Elizabeth was the speaker at the rededication of the plaque for the Chicago area Marines at

Midway Airport. In her speech Liz read the letter from John that he wrote to her on September 3,

1983; it was eerie because it was the last letter he wrote to her and it sounded like what someone

would write knowing they were going to die and giving advice for her life. He wrote about her life

and he was thinking about what life was like for Liz in Wilmette, Illinois. For her brother to have




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the thought at 23 years old for what life is like for his 12 year old kid sister was amazing. The

words of guidance are a wonderful example of a last letter of a loving brother to his young sister. In

her speech she wanted to be positive for the solemn occasion and talk not just about him but also

about the six other Chicago area Marines and the total of 241 other young people that were killed.

It is not just the people that were killed but it is their families that have the lifelong scars.

        If Elizabeth could tell the Iran leaders something it would be that nothing that anyone can

do or say will bring brother back to life – you cannot change that. Any human being that is so

twisted and fanatical that they could do such destruction including the bomber, the people that

funded it, and the planners of this or any other terrorist incident must have such hate in their being

for this country that it doesn’t make a difference what she says because they spend all their time

and money and energy to do horrible things so they are completely twisted. Driving a truck bomb

into building of men that cannot even defend themselves is horrible and there are children that will

grow up with the same mentality believing the United States is the root of all evil. Liz would not

waste her energy to have a conversation with the people that did this horrible thing. It is interesting

that Iran is behind this and that Iran is in the news again.

        Elizabeth believes that she has managed to continue her life and find happiness in her life –

she is not messed up. She gets teary and sad sometimes and she gets sad mores for him losing his

life and for him to never have had a chance to share in life.



                                      CONCLUSIONS OF LAW

        (1) Wrongful Death.

        The Plaintiffs produced comprehensive testimony from Dr. Jerome Paige detailing the loss

of accretions to the estate of each person. These calculations are conservative and the amounts set




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forth in the report have been established without question. The Special Master concludes as a

matter of law that judgment should be entered for this element of damages for the Estate of John

Arthur Phillips, Jr. in the amount of $1,030,308.00.

       (2) Survival Action – Pain And Suffering.

       There is no evidence from which it could be concluded that the decedent endured bodily

pain and suffering after the attack and prior to his death.

       (3) Solatium.

       The Foreign Sovereign Immunities Act provides for an award for solatium consisting of

emotional injury inflicted upon persons other than the decedent by the actions of the defendants

and/or their agents. As the Court noted in the Flatow case, id., this is an item of damages which

belongs to the individual heir personally for injury to the feelings and loss of decedent’s comfort

and society. The unexpected quality of a death may be taken into consideration in gauging the

emotional impact to those left behind. In this case the impact upon the parents and siblings was

devastating. The Special Master concludes as a matter of law that the following amounts are

appropriate compensation for this element of damages: John Arthur Phillips, Sr. (father) -

$10,000,000.00; Nancy Brocksbank Fox (mother) - $10,000,000.00; Harold Phillips (brother) -

$5,000,000.00; Victoria Jacobus (sister) - $5,000,000.00; and Elizabeth Phillips Moy (sister) -

$5,000,000.00


Date: August 3, 2006



                                                      S/S
                                               _________________________________________
                                               Loraine A. Ray,
                                               Special Master




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